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IN THE UNITE}) S'I`ATES I)ISTRICT COURT
FOR THE _DISTRICT OF COLORADO

Civil Actien No.:
STBVE N BURTON

P§a§ntiff,
v.

UNITED STATES OF AMERECA, CHARLES SCHOEPHOERSTER, P.A.,
KEITH BAK`ER, M.D., and CALVIN POLLAND, D.O.

Defendants

 

COMPLAINT AND CERTIFICATE OF R_EVIEVV

 

Steve Burton, by and through his attorneys, heyeby States as follows:
THE PARTlES
l. The Plaintiff, Steve Bul‘ton, is a resident and citizen Of`the Connty Of EI Paso_, State of

Colorado, and Was the husband 01" Deborah Bm”ton, the decedent

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2. The Det`endant, the United States of Anierica, is a proper party to this action brought
pursuant to the Federal Tort Claiins Act, 28 U.S,C. § 2671, cl scq. which at all times Was acting
through l’eterson Air Poi‘ce Base Clinic [hereinat`ter “Peterson"] in Colorado Spi'ings, Colorado.

3. Charles Schoephoei'ster._ P.A. ("Dei"enciant Schoephoerster") was a physician assistant
licensed to practice in the State ot` Coforado and Was a personal services contractor of the United
States.

4. Keith Bal<er, l\/I.E). (“Det`enciant Bai<er”’) was a physician licensed to practice medicine
in the State of Coiorado and Was a personal services contractor ot`the Unitecl States.

5. Calvin Polland, D.O. (""Det`endant Poliand") Was a physician licensed to practice
medicine in the State ot` Co§orado and was a personal services contractor of the United States.

JURISDIC'I`EON AND VENUE

6. The Plaintit`i` is informed and believes that, in this case, if the United States Were a
private person_, liability Woii]d be imposed under the laws of the State ot` Colorado upon the
practiee, physicians, stat`i` and other agents, sei‘\/ants, and employees charged With the
responsibility for the niedica§ care and treatment of Deborah Bt'n“ton, acting within the course and
scope of their employment With Peterson.

7. T`liis Court has jurisdiction of this action pursuant to its Federal Question Jurisdiction
as provided for by 28 U.S.C. §§ l33] and 1346¢ in that the action is brought pursuant to the
Federal Toit Clainis Act, 28 U.S.C. § 267`1, ctsecj.

8. Venue is proper in this District the acts and omissions ail occurred in Colorado.

9. Plaintiff timely served via Certit`ied l\/lail an Adininistrative Claiin pursuant to 28

U.S.C. §2675. The claim was denied on February 24, 2012.

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GENERAL FACTUAL ALLEGATIONS

lO. At atl relevant times, Defendant Schoephoerster heid himself out as a physician
assistant qualified to care and treat patients such as l\/ls. Buiton and Ms. Burton relied upon those
representationsl

l l. At all relevant tinies, Defendant Baker held hiniseifout as a physician qualified to
care and treat patients such as l\/ls. Bui'ton.

lZ. Based upon information and belief, Defendant Bal<er was the secondary physician
supervisor for Defendant Schoephoei‘ster on luiy 22, 2009.

l3. At all relevant tiines, Defendant Polland was the primary physician supervisor for
Defendant Schoephoerster.

i4. The terms “`Def"endant" or "Det`endants," as used hereinafter. include the einpioyees.
agents, representativesj officers, staff, and any other persons under the supervision and/or control
of the named Det`endants, as weil as their predecessors and successors in interest

l5. On or about July 22, 2009, l\/ls. Burton was seen by Defendant Schoepiioerster for flu
like symptoms, including coughing, chest pain, runny nose and a headache l\/lst Burton also
reported that individuals in her building at work had tested positive for Hi i\ll influenza.

l6. On or about Juiy Z~i 2009, l\/ls. Burton`s vitals included a heart rate of llo and a
temperature of 103.20 F'ahrenheit.

l7'. Based upon information and belief, on or about luly 22, 2009, `Defendant
Schoephoei'ster conferred with Defendant Bal<er regarding the treatment plan for i\/ls. Burton.

l8. On or about July 22, 2009, although Defendant Schoephoerster ordered an intiuenza
test, he declined to prescribe Tamiflu to Ms. Burton despite her working amongst individuals

who had been diagnosed with intluenza and a recent intluenza outbreak at the Academy.

L)J

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19. On or about July 2'?, 2009, i\/ls. Burton was informed that she tested positive for
iniluenza.

20. On or about Jui.y 27, 2009, based upon information and belief, when Ms. Burton
reported to Eiizabeth Ci“uz that she was still having probiems with a cough and some problems
breathing, l\/ls. Cruz consulted with Defendant Schoephoerster and promethazine with codeine
was prescribed

Zl. Based upon information and belief, when l\/ls. Burton picked up her new prescription
on July 27, 2009, she was seen by Defendant Schoephoerster or l\/ls. Cruz, with problems
breathing, but no examination or additional treatment was recommended

22. On July 28. 2009, l\/is. Burton died from complications of untreated influenza.

CLAIM FOR RELIEF
(Negligence ~ Defendant Schoephoerster)

23. Plaintiff hereby incorporates all other paragraphs in this Coinplaint.

24. Defendant Schoephoei‘ster was negligent in the care and treatment provided to l\/ls.
Burton, and failed to meet the standard of care for physician assistants, practicing in the same
specialty at that time, under similar circumstances Said negligence includes, but is not limited
to the foliowing:

a. faiiure to promptly identify Ms. Burton’s iliness as int`i uenza;
b. failure to order the appropriate tests to rule in or out intluenza on an

expedited basis;

c. t`aiiure to prescribe appropriate medicationsJ such as Tamitlu, on July 22,
2009;
d. failure to provide an appropriate treatment plan to address Ms. Burton’s

medical condition; and

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e. failure to promptly refer l\/is. Burton to a hospital when she reported
continued and worsening symptoms on July 27, 2009.

25. As a direct result of the negligence of the Defendant as set forth in this Complaint,
Plaintiff has suffered and has continued to suffer injuries, damages and losses from the wrongful
death of l\/[s. Burton, including without limitation: any economic iosses, including any expenses
from the wrongde death l\/is. Burton, funeral and burial expenses, loss ofincome, and the value
of lost services and benefits that i’laintiff might have reasonably expected to receive from l\/Is.
Burton, had she iived; any non-economic losses and injuries, including damages for gr‘iet`, loss of
companionship, impairment of quality of life, inconvenience pain and suffei'ing, emotional
distress, psycliologicai complications and other non-economic losses, past and future Plaintiff
claims damages pursuant to C.R.Si §13-21~203, in an amount to be determined by the trier of
t`act.

SECOND CLAI`M_ FOR RELIEF
(Negligence - Befendant Baker)

26. Plaiiitit`t`lier“ei)y incorporates all other paragraphs in this Compiaint.
27. Defendant Baker was negligent in the care and treatment provided to Ms. Burton,
and failed to meet the standard of care for physicians, practicing in the same specialty at that

time, under similar circumstances Said negligence inciudes, but is not limited to the following:

a. failure to promptly identify l\/ls. Burton’s illness as influenza;
b. faiiure to order the appropriate tests to rule in or out intiueirza on an

expedited basis;
c. failure to confirm that Defendant Schoephoerster ordered the appropriate

medications1 such as Tanriflu, on July 22, 2009; and

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d, failure to provide an appropriate treatment plan to address l\/ls. Burton’s
medical condition
28. As a direct and proximate resuit of the negligence of Defendant Bal<er, Piaintiff has
suffered injuries, damages and losses as more fully identified in this Complaint.

THIR[) CLAIl\/f F()_R RELIEF
(Negligence-Vicarious- Defendants Baker and Poliaud)

29. Plaintift`incorporates ail other paragraphs in this Complaint.

30. Section lZ-So~lGo(§)(b)(l), C.R.S., requires, in part, for physician assistants
pert`orming acts which constitute the practice of medicine that “the act{s] shall not be performed
except under tire personal and responsibie direction and supervision of a person licensed . . . to
practice medicine . . . . The [Colorado State Board ot`l\/ledical Examiners (the "Board"")] may
define appropriate direction and supervision pursuant to rules and regulations."

3l. The Board has provided in 3 Coio. Code Regs. § 71 3~7 that its rules are “designed to
make tire primary physician supervisor responsible for the conduct of tire physician assistant
unless another physician, the secondary physician supervisor. clearly assumes r‘esponsibility."

32. Pursuant to 3 Colo. Code Regs. § 713-7:

a. Defendant i)olland was the primary physician supervisor for Defendant
Schoephoerster;
b. Based upon information and belief, Defendant Bal<er was the secondary

physician supervisor for Defendant Schoephoerster, and should have assumed
responsibility for Det`endant Schoephoerster’s conduct on bFuiy 22, 2009. when he
rendered health care services to Ms. Burton, in conjunction with Defendant Baker“.

33. Defendants Baker and l’olland are vicariously liable for any negligence by Defendant

Sclroephoerster during the times they were primary and/or secondary supervisors of him.

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34. As a direct and proximate result of the negligence of Defendants Bal<er and i’olland,

Plaintiff has suffered injuries, damages and losses as more fully identified in this Complaint.
FOURTH CLAlM FOR REL.IEF
Federal Tort Ciaims Act

35. Tlris claim is brought by Plaintiff against l)efendant, the United States of America,
for actions undertaken by the named Defendants as well as the negligence of l\/ls. Cruz and any
other agents, employees or servants of l)efendant USA who caused or contributed to the death of
l\/is. Burton.

36. The negligence of these additional agents, servants and employees includes but is not
limited to:

a. arranging for laboratory testing that would provide intluenza testing results more

pi‘omptiy; and

b. failing to promptly refer l\/ls. Burton to a physician with expertise to handle

complications such as l\/ls. Burtons;

c. failing to promptly refer l\/is. Burton to a hospital when she complained of problems

breathing on luly 27, 2009.

37, Tlre aforementioned actions of the United States of Anierica, through the actions of
the named and untrained agents, servants and employees constitute negligence and were the
cause of the death of Ms. Burton.

WHEREFORE, Plaintiff prays for judgment in his favor and against l)efendants in an
amount to be determined by the trier of t`act, including pre-judgment interest provided by law,

costs and such other and further relief as the Court deems just and proper.

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CERTIFICATE OF RE`,VIE'W

l. The undersigned have consulted with professionals who have expertise in the areas
ot` the alleged negligent conduct ot` each ot`tiie licensed professionals named as parties in this actionl

2. The professionals who have been consuited, pursuant to C.R.S., §13-20w602(3)(a)(i),
have reviewed tire known t`acts, including such r'ecordsi, documents and other materials which the
prot`essionais have found to be relevant to the ailegations ot` negligent conduct and, based on the
review ot`such t`acts, have concluded that the filing ot` the ciaims do not lack substantiai justification
within tire meaning ot` C.R.S., §§3-] 7~»102(4).

3. The professionals consulted can demonstrate by competent evidence that, as a result
oi` training, education, knowledge and experience the professionals are competent to express an
opinion as to the negligent conduct aileged. As to tire negligent conduct alleged regarding

physician, the professionals consuited meets the requirements ot` §l3-6-<i-4()l.

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Respecttiiily submitted this 31St day ot` July 2012.

SCHOENWALD & T`HGMPSON LLC

Dn[y signed copy offers Ct)nrpi'ar'm is onjz`!e
rif undersigned ` s offices

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/s/ .Euiiza""l`. Thompson
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